8:02-cr-00238-JFB-TDT         Doc # 356       Filed: 10/14/05     Page 1 of 5 - Page ID # 2676

                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                   Case Number 8:02cr238

                                                     USM Number 18040-047

TERRI J. SAMOWITZ
                       Defendant
                                                     David R. Stickman

                                                     Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                     (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count I of the Information on July 14, 2005.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:

                                                          Date Offense               Count
         Title, Section & Nature of Offense                Concluded                Number


 21 U.S.C. 353(e)(1)(A) and 333 Pharmaceutical         September 15, 1998               I
 Records

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984 and Booker/FanFan decisions.

The Superseding Indictment is dismissed on the motion of the United States as to this defendant
only.

Following the imposition of sentence, the Court advised the defendant of her right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                               October 11, 2005

                                                                             s/Joseph F. Bataillon
                                                                      United States District Judge

                                                                                 October 14, 2005
8:02-cr-00238-JFB-TDT           Doc # 356       Filed: 10/14/05      Page 2 of 5 - Page ID # 2677

Defendant: TERRI J. SAMOWITZ                                                                    Page 2 of 5
Case Number: 8:02cr238



                                                PROBATION

The defendant is hereby sentenced to probation for a term of three (3) years commencing
October 11, 2005.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

        If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments
set forth in the Criminal Monetary Penalties sheet of this judgment.

        The defendant shall comply with the standard conditions that have been adopted by this
court (set forth below). The defendant shall also comply with any additional conditions.

                           STANDARD CONDITIONS OF SUPERVISION

1.      the defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      the defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      the defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      the defendant shall support his or her dependents and meet other family responsibilities;
5.      the defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      the defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      the defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed, or administered;
9.      the defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     the defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     the defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     the defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the court;
13.     as directed by the probation officer, the defendant shall notify third parties of risks that may
        be occasioned by the defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the defendant’s
        compliance with such notification requirement.
8:02-cr-00238-JFB-TDT            Doc # 356        Filed: 10/14/05        Page 3 of 5 - Page ID # 2678

Defendant: TERRI J. SAMOWITZ                                                                         Page 3 of 5
Case Number: 8:02cr238



                               SPECIAL CONDITIONS OF SUPERVISION


1.      The defendant shall complete 150 hours of community service as approved and directed by the
        United States Probation Officer. The defendant shall be responsible for providing the United States
        Probation Officer with written proof of the number of hours completed.

2.      The defendant shall provide the United States Probation officer with access to any requested financial
        information.

3.      The defendant shall report to the United States Probation Office in the District of Utah, 160
        Frank E. Moss United States Courthouse, 350 South Main Street, Salt Lake City, Utah,
        telephone number (801) 524-5176, within 72 hours of being placed on probation or released
        from confinement and, thereafter, as directed by the probation officer.
8:02-cr-00238-JFB-TDT           Doc # 356    Filed: 10/14/05    Page 4 of 5 - Page ID # 2679

Defendant: TERRI J. SAMOWITZ                                                            Page 4 of 5
Case Number: 8:02cr238


                               CRIMINAL MONETARY PENALTIES

        The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in this judgment.

       Total Assessment                     Total Fine                 Total Restitution
               $25.00




                                              FINE

        No fine imposed.

                                        RESTITUTION

        No restitution was ordered.
8:02-cr-00238-JFB-TDT             Doc # 356        Filed: 10/14/05    Page 5 of 5 - Page ID # 2680

Defendant: TERRI J. SAMOWITZ                                                                     Page 5 of 5
Case Number: 8:02cr238


                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, the court orders that payment of the total
criminal monetary penalties shall be due as follows:

       The special assessment in the amount of $25.00 was paid in full on October 11,
2005, receipt #827012.

Unless the court has expressly ordered otherwise in the special instruction above, if this
judgment imposes a period of imprisonment, payment of criminal monetary penalties shall be
due during the period of imprisonment. All criminal monetary penalties, except those payments
made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are
made to the clerk of the court, unless otherwise directed by the court, the probation officer or
the United States attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska,
111 S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly
payment amount, as ordered by the court. In the event a defendant is able to make a full or
substantial payment toward the remaining criminal monetary penalty, he or she shall do so
immediately.

The defendant is restrained from transferring any real or personal property, unless it is
necessary to liquidate and apply the proceeds of such property as full or partial payment of the
criminal monetary penalty.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest, (7) penalties,
and (8) costs, including cost of prosecution and court costs.


CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
